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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
        Plaintiff,                        )
                                          )
and                                       )
                                          )
TOBACCO-FREE KIDS ACTION FUND, )
et al.,                                   )     Civil Action No. 99-CV-2496 (PLF)
                                          )
        Plaintiff-Intervenors,            )
                                          )
                 v.                       )
                                          )
PHILIP MORRIS USA, INC., et al.,          )
                                          )
        Defendants.                       )
                                          )

PUBLIC HEALTH INTERVENORS’ EMERGENCY MOTION TO REQUIRE PM AND
ALTRIA TO MAINTAIN THEIR DOCUMENT WEBSITE UNTIL THE COURT RULES
  ON THE INTERVENORS’ MOTION TO CLARIFYAND AMEND ORDER #1015

       The Public Health Intervenors1 move, on an emergency basis, that this Court temporarily

require defendants Philip Morris USA, Inc. (“PM”) and its parent, Altria Group, Inc. (“Altria”),

to maintain PM’s “Internet Document Website” (www.pmdocs.com) on and after September 1,

2021, as required by Order #1015 (Dkt. No. 5733; Aug. 17, 2006), as previously amended by

Order #1021 (Dkt. No. 5765; Sep. 20, 2006) and Order #27-Remand (Dkt. No. 5953; Dec. 15,

2011), until the parties have fully briefed and this Court has considered and ruled upon the Public

Health Intervenors’ Motion to Clarify and Amend Order #1015 (Dkt. No. 6445; Aug. 19, 2021)

(“Motion to Clarify”). It is important to keep PM’s website open while the Court considers the



1       The Public Health Intervenors are Tobacco-Free Kids Action Fund, American Cancer
Society, American Heart Association, American Lung Association, Americans for Nonsmokers’
Rights, and the National African American Tobacco Prevention Network.
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Intervenors’ Motion to Clarify, and it will impose no significant burden on PM to require it to do

so. PM has maintained this website for decades; they are already required by Order #1015 as

amended by Order #1021 to keep this website open and available to the public until September 1,

2021; and the Intervenors simply seek to extend that obligation for a short time to allow for

orderly briefing and careful consideration of their Motion to Clarify.

       In support of this motion, the Public Health Intervenors state as follows:

       1.      As detailed further in the Motion to Clarify, Order #1015 as amended by Order

#1021 requires PM and Altria to maintain PM’s “Internet Document Website” and to add to it all

documents produced in “any court or administrative action in the United States concerning

smoking and health, marketing, [or] addiction …,” as well as transcripts of deposition testimony

(and corresponding exhibits) given by any of their company witnesses until September 1, 2021.

       2.      On August 19, 2021, the Intervenors filed their Motion to Clarify, asking this

Court to require PM and Altria to continue to maintain PM’s Internet Document Website on and

after September 1, 2021 and to post on PM’s document website, for no fewer than 12 months, all

documents and deposition testimony of company witnesses in a single court proceeding currently

pending in the United States District Court for the Northern District of California: In Re: Juul

Labs, Inc., Marketing, Sales Practices, and Products Liability Litigation, No. 19-md-02913-

WHO (“Juul MDL Litigation”).

       3.      As thoroughly explained in the Intervenors’ Brief in Support of Their Motion to

Clarify and Amend, the Juul MDL Litigation revolves around allegations of fraudulent RICO

schemes by PM and Altria that undeniably concern “addiction” – in fact, nicotine addiction, just

like this case. The Public Health Intervenors have brought their Motion to Clarify to ensure that




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PM and Altria are required to add the PM’s document website all the discovery materials

produced in Juul MDL Litigation.

        4.     It would not be practical for the parties to complete briefing, and for this Court to

hold a hearing and issue a decision on the Motion to Clarify prior to September 1, 2021.

        5.     The Intervenors have acted with reasonable diligence in bringing their Motion to

Clarify. They are not parties to the Juul MDL Litigation. They were not aware of the RICO

allegations in the MDL complaint until sometime after April 13, 2021, when the court in

California denied the motions to dismiss the RICO claims by PM and Altria and other defendants

in the Juul MDL Litigation. Subsequent efforts to learn about the course of discovery in the case

were stymied by a Stipulated Protective Order, approved by the court, that has apparently

prevented plaintiffs’ counsel in California from disclosing any information about the documents

that have been produced or deposition testimony given by PM and Altria in the Juul MDL

Litigation.

        6.     The Intervenors recently discovered among the nearly 2,000 docket entries in the

MDL proceeding a Joint Discovery Status Report from June 2021 where Altria represented to the

court that, as of June 14, 2021, it had produced approximately 850,000 documents in the Juul

MDL Litigation. See Joint Discovery Status Report at 3-4, Juul MDL Litigation, Case No. 19-

md-02913-WHO, ECF No. 1975 (filed June 14, 2021) (attached as Exhibit 4 to the Brief in

Support of the Motion to Clarify). That Status Report also noted that the MDL plaintiffs had

already taken the depositions of ten current and former Altria employees, and had noticed an

additional nine depositions of Altria witnesses. Id. at 4.

        7.     On August 16, 2021, the Intervenors confirmed that neither Altria nor PM have

added any documents produced in the Juul MDL Litigation to PM’s document website. See



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Declaration of Monique E. Muggli, ¶¶ 4-5 (attached as Exhibit 3 to the Brief in Support of the

Motion to Clarify).

        8.         The Intervenors promptly filed their Motion to Clarify after completing their duly

diligent investigation into the Juul MDL Litigation and the implications of PM’s failure to add

any documents from that court action to its document website.

        9.         This emergency motion, if granted, would not impose any meaningful burden on

PM or Altria. The Intervenors are not asking the Court to order PM and Altria to do anything

while their Motion to Clarify is pending. All they ask is that PM be required to continue to keep

its document website, www.pmdocs.com – which has been in existence for decades – open and

running while the Court considers whether to clarify and amend Order #1015 as the Intervenors

have proposed.

        10.        The transparency requirements of Order #1015 are of great public importance. As

Judge Kessler found in her Final Judgment and Remedial Order in this case, PM and Altria were

guilty of ongoing RICO violations, including the targeting of false and misleading marketing to

young people in order to create a new generation of cigarette users despite being aware of the

adverse health impacts of smoking. The issues in the Juul MDL Litigation follow the same

pattern, replete with allegations that PM and Altria continue to violate RICO and illegally target

youth populations with misleading marketing so that they can induce kids to become addicted to

the nicotine in their e-cigarettes. Permitting PM to take down its document website on

September 1 while the Public Health Intervenors’ Motion to Clarify is pending – and thereby

potentially allow their violation of Order #1015 to go unchecked – would be detrimental to the

public interest.




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       11.     The public interest would best be served by granting this emergency motion to

extend PM and Altria’s obligation to maintain PM’s document website for a short time while the

Intervenors’ Motion to Clarify is under consideration by this Court.

       A proposed form of order has been filed with this motion.

August 19, 2021
                                             By their attorneys,

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                                             Intervenors


                                 LCvR 7(m) CERTIFICATE

               As required by LCvR 7(m), on August 16, 2021 counsel for the
       Intervenors notified counsel who are currently appearing for PM and Altria in this
       action of our intent to file this motion and sought their consent. We were advised
       by Winston & Strawn that they are not responsible for this aspect of the case, but
       would provide us with a proper contact at another law firm. No such information
       has yet been given. Gibson Dunn did not respond to our request to discuss this
       motion.
                                               /s/ Scott P. Lewis
                                               Scott P. Lewis




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                        CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of this document was filed
through the Electronic Case Filing system, and will be served upon the attorney of
record for each party registered to receive electronic service on this 19th day of
August 2021.
                                        /s/ Christina S. Marshall
                                        Christina S. Marshall




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